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"%A0 245B     (Rev. 06/05) Judgment in a Criminal Case             #764
              Sheet 1




                       SOUTHERN                                    District of                                 ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              v.
                  KENNETH W. NEAL                                        Case Number:           4:06CR40029-007-JPG

                                                                         USM Number: 07315-025
                                                                          Michael Rousseau
                                                                         Defendant's Attorney
THE DEFENDANT:
            guilty to count(s)
   pleaded nolo contendere to count(s)                                                                           a
   which was accepted by the court.                                                                                        0 2007
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended                   Count
                                    ~ o n ' w a & ~ tbo& t e     SQ rams or wore of ~ocainegeee' b 7 i p 0 6                           1




       The defendant is sentenced as provided in pages 2 through             10           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                              CI is     C] are dismissed on the motion of the United States.

         It is ordered +at the defendant must notify the Unjted States attorpey for this district within 30 da s of any change of name, resjdence,
or mailing address until.al1fines, restitufion,.costs, and special assessmeqts imposed by tlus judgment are fugy paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econormc circumstances.




                                                                          J. Phil Gilbert                              District J u d ~ e
                                                                          Name of Judge                               Title of Judge


                                                                                                  /l9--=97
                                                                          Date
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A 0 245B      (Rev. 06/05) Judgment in Criminal Case              #765
              Sheet 2 - Imurisonment
                                                                                                         Judgment - Page    2   of   10
DEFENDANT: KENNETH W. NEAL
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                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  215 months on Count1 of the 5th Superseding Indictment. (The Court sentences the defendant to 240 months, but gives him
  25 months credit for time served on a related state case. The 215 months sentence shall run concurrent with his state
  sentence).

           The court makes the following recommendations to the Bureau of Prisons:




     @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.           on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

at                                                     , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            -   J
                                                                                                   DEPUTY UNITED STATES MARSHAL
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                                                                  #766
A 0 245B      (Rev. 06/05)Judgment in a Criminal Case
              Sheet 3 - Suoewised Release
                                                                                                            Judgment-Page       3     of        10
DEFENDANT: KENNETH W. NEAL
CASE NUMBER: 4:06CR40029-007-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  10 years on Count 1 of the 5th Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suxmit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as deterrmned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @f The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o/payrnents sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a w i s t e r any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemussion to do so by the protation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit ~ o ~ s c a t i of
                                                                                                                                                o nany
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           history, or characteristics and shall pemut the probation officer to make such notifications and to confirm the
           defendant s compliance w ~ t hsuch notification requirement.
A 0 245B
           Case 4:06-cr-40029-JPG
           (Rev. 06/05) Judgment in a Criminal Case
                                                      Document 353 Filed 11/20/07      Page 4 of 6         Page ID
           Sheet 3C - Supervised Release                        #767
                                                                                           Judgment-Page     4    of      10
DEFENDANT: KENNETH W. NEAL
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account, however, if the account balance is less than $20.00, no payment shall
 be required.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information. The defendant is advised that the probation office may share financial information with the Financial Litigation
 Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Based on his history of substance abuse, the court will exercise its discretion and other that the defendant participate as
 directed and approved by the probation officer in treatment for narcotic addiction, drug dependence, or alcohol
 dependence, which includes urinalysis or other drug detection measures and which may require residence and/or
 participation in a residential treatment facility. Any participation will require complete abstinence from all alcoholic
 beverages. The defendant shall pay for the costs associated with substance abuse counseling and/or testing based on a
 co-pay sliding fee scale approved by the United States Probation. Co-pay shall never exceed the total costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
A 0 245B      Case
           (Rev.       4:06-cr-40029-JPG
                06/05) Judgment in a Criminal Case   Document 353 Filed 11/20/07                          Page 5 of 6       Page ID
           Sheet 5 - Criminal Monetary Penalties               #768
                                                                                                      Judgment-Page         5   of       10
DEFENDANT: KENNETH W. NEAL
CASE NUMBER: 4:06CR40029-007-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       -
                                                                       Fine                                   Restitution
TOTALS            $ 100.00                                           $ 250.00                               $ 0.00



     The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned .ayment, unless specified otherwise jn
     the priority order or percentage payment column Y3elow. However, pursuant to 18 J s . 8 . 5 36646), all nonfederal vlctlms must be paid
     before the United States is paid.

Name of Pavee                                                            Total*               Restitution Ordered Priority or Percentage




TOTALS                               $                       0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment,         to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@f    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the          &jf fine         restitution.
           the interest requirement for the          fine           restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
A 0 245B   (Rev.Case    4:06-cr-40029-JPG
                 06/05)Judgment  in a Criminal Case    Document 353 Filed 11/20/07                     Page 6 of 6          Page ID
           Sheet 6 - Schedule of Payments                        #769
                                                                                                         Judgment - Page      6      of       10
DEFENDANT: KENNETH W. NEAL
CASE NUMBER: 4:06CR40029-007-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @f Lump sum payment of $                               due immediately, balance due

                 not later than                                  , Or
                 in accordance         [7 C,           D,          E, or    d F below; or

B          Payment to begin immediately (may be combined with               C,          D, or     Cj F below); or

C     [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D     [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @f Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater.




Unless the court has express1 ordered otherwise,if this judgment imposes i m p r i s o n m e n t , i a r t of criminal monetary penalties is due durin
imprisonqept. All cruninaYmoneta penalties, except those payments made throug                     e Federal Bureau of Prisons' Inmate ~ i n a n c i g
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
                                                       1
(5) fine interest, ( 6 ) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
